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                            Exhibit N
        Case 6:07-cv-00204-LED Document 291-15 Filed 03/15/10 Page 2 of 6 PageID #: 16655


Jessica Hannah
From:                        Jessica Hannah
Sent:                        Tuesday, February 23, 2010 3:25 PM
To:                          'Lerner, Julieta'
Cc:                          Calvin Capshaw; Elizabeth DeRieux; Jeff Rambin; Frederick G. Michaud; Monica Avery; Heit,
                             Warren S.; Yokoyama, Jennifer; Bagdasarian, Amy J.
Subject:                     RE: Marvell v CSIRO 607cv204
Attachments:                 2010-2-11 Marvell v CSIRO Stipulation regarding Sony Docs.docx; FW: Sony


Dear Julieta,

Thank you for getting back to me. I am aware of the parties’ agreement with respect to stipulating to the authenticity of
certain documents on the exhibit lists for trial.

However, I think the documents I’ve identified in the draft stipulation comprise a distinct issue for at least three
reasons. First, as shown in the attached email from Warren Heit to Dan Furniss, Marvell already agreed to the requested
stipulation, subject only to the identification of the documents at issue. I identified the documents at issue on February
12, 2010‐‐‐though a larger set of documents was identified back in January. Second, unlike the parties’ agreement
regarding all exhibits going forward, the draft stipulation addresses a bulk of documents that as a whole were (and many
still are) publicly accessible on a third‐party website. All we are asking for is a stipulation that these documents are
authentic business records from Sony. Finally, the stipulation addresses third‐party documents. These are not
documents from a party to the case. As a result, absent stipulation, CSIRO will be forced to resort to obtaining evidence
that these are authentic business records from the third party—a time consuming and costly endeavor, when compared
with dealing with documents obtained from a party to the case. As a result, we cannot agree to wait on a later
stipulation as to these documents and I am attaching the draft stipulation and again request a response by the end of
the day today.

Best,

Jessica


From: Lerner, Julieta [mailto:jlerner@paloalto.whitecase.com]
Sent: Monday, February 22, 2010 2:49 PM
To: Jessica Hannah
Cc: Calvin Capshaw; Elizabeth DeRieux; Jeff Rambin; Frederick G. Michaud; Monica Avery; Lord, John E.; Heit, Warren
S.; Yokoyama, Jennifer; Bagdasarian, Amy J.
Subject: RE: Marvell v CSIRO 607cv204

Hello Jessica,

I have received the draft stipulation regarding the Sony documents. However, earlier today the parties agreed to work
together on stipulating to the authentication of documents to avoid having to do so at trial. In the interest of efficiency, the
Sony documents should be included in the parties' later discussions and meet and confer efforts on authentication
issues.

Best,

Julieta




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From: Jessica Hannah [mailto:jhannah@capshawlaw.com]
Sent: Monday, February 22, 2010 9:48 AM
To: Lerner, Julieta
Cc: Calvin Capshaw; Elizabeth DeRieux; Jeff Rambin; Frederick G. Michaud; Monica Avery; Lord, John E.; Heit, Warren S.
Subject: RE: Marvell v CSIRO 607cv204

Hi Julieta,

I sent you a draft stipulation regarding the Sony Documents ten days ago, as well as an email following up last Thursday
morning. Yet, I have yet to hear back from you with even a confirmation that you received the draft stipulation. Can
you please confirm receipt of the draft stipulation by the end of the day today? I would also request that Marvell
communicate a position on the draft stipulation by the end of the day tomorrow. Please let me know if you will be
unable to accommodate these requests.

Best,

Jessica L. Hannah
Attorney
Capshaw DeRieux, L.L.P.
1127 Judson Road, Suite 220
Longview, Texas 75601
Direct: (903) 233-4823
Facsimile: (903) 236-8787
http://www.capshawlaw.com




From: Jessica Hannah
Sent: Thursday, February 18, 2010 8:28 AM
To: 'Lerner, Julieta'
Cc: Calvin Capshaw; Elizabeth DeRieux
Subject: RE: Marvell v CSIRO 607cv204

Hi Julieta,

I just wanted to verify you received the email below, along with the attachment. If so, please let me know if I can expect
a response from Marvell soon.

Best,

Jessica




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From: Jessica Hannah
Sent: Friday, February 12, 2010 10:02 AM
To: 'Lerner, Julieta'
Cc: Jeff Rambin; Elizabeth DeRieux; Calvin Capshaw; Monica Avery; Lord, John E.; Heit, Warren S.
Subject: RE: Marvell v CSIRO 607cv204

Dear Julieta,

I have revised the draft stipulation to reflect a smaller set of documents, in accordance with both parties’ effort to limit
our exhibit lists. This version includes less than 1/3 of the originally identified set of documents.

I want to point out that Bates No. DS0007770 ‐DS0007774 is included in the stipulation. However, this document is not
from Sony’s website. It is a news article from the Times Online with Sony’s officer Mr. Hirai.

Please let me know if you have any questions.

Best,

Jessica L. Hannah
Attorney
Capshaw DeRieux, L.L.P.
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Facsimile: (903) 236-8787
http://www.capshawlaw.com




From: Lerner, Julieta [mailto:jlerner@paloalto.whitecase.com]
Sent: Thursday, February 04, 2010 6:25 PM
To: Jessica Hannah
Cc: Jeff Rambin; Elizabeth DeRieux; Calvin Capshaw; Monica Avery; Lord, John E.; Heit, Warren S.
Subject: RE: Marvell v CSIRO 607cv204

Dear Jessica,

The stipulation that you provided seeks the authentication of approximately 153 Sony documents (4,202 pages), one
video, and one spreadsheet of 112 pages. As you point out, some of the documents are very large.

Pursuant to the Court's order, in two weeks from now (on February 19th) the parties are required to exchange exhibit
lists. My understanding based on conversations with John Lord is that the parties are striving to make the number of
exhibits reasonable (he mentioned in the realm of 400 CSIRO exhibits) because Judge Davis would not be pleased by
overly-inclusive exhibit lists. Given the number of exhibits that CSIRO plans to list for the whole trial, it does not make
sense that 153 of these approximately 400 exhibits would be Sony documents.

In the interest of efficiency, Marvell is willing to review and to stipulate the authenticity of Sony documents to the extent
appropriate, but only those documents and materials that CSIRO plans to include on its exhibit list on February 19.

Best,

Julieta
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From: Jessica Hannah [mailto:jhannah@capshawlaw.com]
Sent: Thursday, February 04, 2010 12:27 PM
To: Lerner, Julieta
Cc: Jeff Rambin; Elizabeth DeRieux; Calvin Capshaw; Monica Avery; Heit, Warren S.
Subject: RE: Marvell v CSIRO 607cv204

Hi Julieta,

I understand that Marvell has agreed to the stipulation noted in the email below. The documents at issue correspond
with Bates Numbers DS0004858‐DS0009060, DS0010234, and DS0010236, as identified in the attached draft
stipulation. Per your voicemail, hopefully you’ve already had a chance to review these documents, as there are some
large documents included (200+ pages). Please let me know if you have any questions.

Best,

Jessica




From: Jessica Hannah
Sent: Friday, January 22, 2010 12:05 PM
To: 'jlerner@whitecase.com'
Subject: Marvell v CSIRO 607cv204

Hi Ms. Lerner,

I just left you a voicemail. I was calling about the subpoenas we served on Sony originally in November. I’ve been told
that Mr. Heit has requested that we identify the documents at issue that are relevant to that subpoena, as CSIRO has
requested that Marvell stipulate to the authenticity of these documents. We served the subpoenas on Monday,
November 23, 2009, and also on that day, we FedExed a cd with all the attachments to you, which you should have
received the next day. The documents contained on this cd are the pertinent documents that we would like a
stipulation as to authenticity. There are a number of different documents, including screenshots from Sony’s website
and financial documents publicly available on Sony’s website, among others. Please feel free to call me if you have any
questions.

Best,

Jessica L. Hannah
Attorney
Capshaw DeRieux, L.L.P.

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